                     IN THE SUPREME COURT OF NORTH CAROLINA

                                          2022-NCSC-42

                                            No. 534A20

                                       Filed 18 March 2022

     IN THE MATTER OF: S.M.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) (2019) from the order entered on

     22 September 2020 by Judge Doretta L. Walker in District Court, Durham County.

     This matter was calendared in the Supreme Court on 18 February 2022 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.

           The Law Office of Derrick J. Hensley, PLLC, by Derrick J. Hensley, for
           petitioner-appellee Durham County Department of Social Services.

           Brendan A. Bailey and Ashley A. Edwards for Guardian ad Litem.

           Kathleen M. Joyce for respondent-appellant mother.

           Benjamin J. Kull for respondent-appellant father.


           EARLS, Justice.

¶1         Respondents appeal from the trial court’s order terminating their parental

     rights to S.M. (Sarah).1 Respondents assert that the trial court erred in concluding it

     was in Sarah’s best interests to terminate their parental rights. After careful review,

     we affirm the trial court’s order.



           1 Pseudonyms are used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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                                      I.      Background

¶2         On 25 May 2017, Durham County Department of Social Services (DSS) filed a

     juvenile petition alleging that Sarah, age eight at the time, was neglected. The

     petition alleged that respondent-father asked Sarah’s older half-sister, Ginny, to

     bathe him, despite being fully capable of bathing himself. The petition further alleged

     respondent-father had inappropriate sexualized discussions with Ginny, had engaged

     in “grooming” behaviors with Ginny, and had inappropriately disciplined both Ginny

     and Sarah by pinching their buttocks. The petition also noted respondent-father’s

     previous sex offense convictions for acts against his two oldest daughters, who were

     now adults.

¶3         Respondents agreed to place Sarah in an approved kinship placement.

     Between May and November, Sarah moved placements three times. The safety

     placements reported that Sarah displayed inappropriate sexualized behavior and

     language. In November 2017, Sarah’s final kinship placement informed DSS that she

     could no longer remain in the home. DSS filed a subsequent petition on 28 November

     2017, alleging Sarah to be neglected and dependent. Due to the lack of a safety

     placement, DSS was granted nonsecure custody of Sarah.

¶4         On 15 December 2017, Sarah was adjudicated neglected and dependent. The

     trial court found she was subjected to inappropriate discipline and exposed to

     domestic violence in the home; respondent-father “refused to adhere to normal
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     interpersonal boundaries” with Sarah and Ginny; and respondent-mother failed to

     protect Sarah. The court placed Sarah in the legal custody of DSS.

¶5         Following a permanency planning hearing, the trial court entered an order on

     6 February 2019 setting Sarah’s permanent plan as reunification with an alternative

     plan of guardianship with a court-approved caretaker. The trial court cited

     respondents’ failure to acknowledge or remediate the issues that led to Sarah’s

     removal. In a subsequent permanency planning order entered in July 2019, the trial

     court noted respondents’ continued lack of progress and changed Sarah’s permanent

     plan to adoption with alternative plans of guardianship and reunification. Following

     a permanency planning hearing on 14 October 2019, the court relieved DSS from

     further reunification efforts and removed reunification as an alternative permanent

     plan based on respondents’ continued failure to engage in services or acknowledge

     the issues that caused Sarah to be removed from the home.

¶6         On 15 October 2019, DSS filed a motion to terminate respondents’ parental

     rights on the grounds of neglect and willfully leaving Sarah in foster care for more

     than twelve months without a showing of reasonable progress to correct the

     conditions that led to Sarah’s removal. See N.C.G.S. § 7B-1111(a)(1)–(2) (2019).

¶7         Following a hearing on 26 and 30 June 2020, the trial court entered an order

     on 22 September 2020, concluding that grounds existed to terminate respondents’

     parental rights in Sarah pursuant to N.C.G.S. § 7B-1111(a)(1) and (2). The court also
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     concluded it was in Sarah’s best interests that respondents’ parental rights be

     terminated. Respondents appealed.

                                        II.     Analysis

¶8         Our Juvenile Code provides for a two-stage process for the termination of

     parental rights—an adjudicatory stage and a dispositional stage. N.C.G.S. §§ 7B-

     1109, -1110 (2019). At the adjudicatory stage, the petitioner bears the burden of

     proving by “clear, cogent, and convincing evidence” the existence of one or more

     grounds for termination under N.C.G.S. § 7B-1111(a). N.C.G.S. § 7B-1109(f) (2019).

     Here, the trial court determined there was sufficient evidence to terminate

     respondents’ parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) and (2), and

     neither respondent has challenged this portion of the trial court’s ruling. Accordingly,

     we consider only the dispositional portion of the trial court’s order.

¶9         At the dispositional hearing, “the court shall determine whether terminating

     the parent’s rights is in the juvenile’s best interest.” N.C.G.S. § 7B-1110(a) (2019).

                  The court may consider any evidence, including hearsay
                  evidence as defined in G.S. 8C-1, Rule 801, that the court
                  finds to be relevant, reliable, and necessary to determine
                  the best interests of the juvenile. In each case, the court
                  shall consider the following criteria and make written
                  findings regarding the following that are relevant:

                  (1) The age of the juvenile.

                  (2) The likelihood of adoption of the juvenile.

                  (3) Whether the termination of parental rights will aid in
                  the accomplishment of the permanent plan for the juvenile.
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                    (4) The bond between the juvenile and the parent.

                    (5) The quality of the relationship between the juvenile and
                    the proposed adoptive parent, guardian, custodian, or other
                    permanent placement.

                    (6) Any relevant consideration.

       Id. “Although the trial court must consider each of the factors in N.C.G.S. § 7B-

       1110(a), written findings of fact are required only ‘if there is conflicting evidence

       concerning the factor, such that it is placed in issue by virtue of the evidence

       presented before the district court.’ ” In re G.G.M., 377 N.C. 29, 2021-NCSC-25, ¶22

       (quoting In re A.R.A., 373 N.C. 190, 199 (2019)).

¶ 10         “ ‘The trial court’s dispositional findings are binding . . . if they are supported

       by any competent evidence’ or if not specifically contested on appeal.” In re B.E., 375

       N.C. 730, 745 (2020) (quoting In re E.F., 375 N.C. 88, 91 (2020)). The trial court’s

       assessment of a juvenile’s best interests is reviewed solely for abuse of discretion. In

       re D.L.W., 368 N.C. 835, 842 (2016) (citing In re L.M.T., 367 N.C. 165, 171 (2013); see

       also In re Montgomery, 311 N.C. 101, 110 (1984)). “Under this standard, we defer to

       the trial court’s decision unless it is manifestly unsupported by reason or one so

       arbitrary that it could not have been the result of a reasoned decision.” In re J.J.B.,

       374 N.C. 787, 791 (2020) (cleaned up).

¶ 11         Here, respondents argue that there was insufficient evidence to support many

       of the trial court’s dispositional findings and that the court abused its discretion when
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       it determined that termination of their parental rights was in Sarah’s best interests.

¶ 12         The trial court made the following findings of fact regarding the statutory

       criteria set forth in N.C.G.S. § 7B-1110(a):

                    82. The Court accepted into evidence the DSS court
                    summary dispositional report, addendum, a letter from the
                    child’s psychiatrist, and the [guardian ad litem’s]
                    dispositional report.

                    83. [Sarah] is eleven years old . . . .

                    84. [Sarah] has been in Durham DSS custody for over two
                    years.

                    85. The permanent plan for the child is adoption and
                    termination of the parental rights of [respondents] will aid
                    in the accomplishment of the permanent plan for the child.

                    86. Although [Sarah] is older and has behavioral
                    challenges, she has also displayed the ability to bond and
                    connect with her caretaker and has shown consistency in
                    the last ten months with her current care provider. During
                    that ten months, there has been no physical aggression
                    against the caregiver, and supportive services have helped
                    her find stability and reduce the number of revenge bouts
                    she has at school. Her therapist has also identified the
                    child’s connections to her parents as holding her back from
                    being able to develop. The child is continuing to receive
                    mental health assistance and there is a likelihood that she
                    could be adopted.

                    87. [Sarah] has shown the ability to bond with her current
                    caretaker, who she has lived with for the last eight months.
                    Her behaviors have dramatically improved and she has
                    even asked if she could call the caretaker “Mom.” While
                    [Sarah] is not in a pre-adoptive placement, her current
                    caretaker has committed to helping [Sarah] transfer to her
                    forever home. [Sarah] approaches the caregiver for
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affection, seeks affirmations from her, and shows a desire
to please her.

88. The foster parent has expressed that she is very fond of
[Sarah] and sees potential in her. [Sarah] has
communicated to the social worker that she enjoys time on
the farm with the current foster parent and the foster
parent’s extended family who live beside the farm. During
[Sarah’s] time in the current placement, she has begun to
open up regarding her anger and responsiveness to others
when upset being what she has seen growing up. [Sarah]
has been responsive to the structure and consistency
provided in the current home and seems somewhat
trusting of the caregiver to discuss her feelings and act
accordingly when redirected.

89. There is no denying that [Sarah] loves her parents and
that her parents love [Sarah]. There are concerns about the
parents’ manipulation of [Sarah] in their feedback with
her.

90. [Sarah] has an undeniable bond with her mother and
father, as she has maintained a sense of loyalty to them
since coming into care. Often times children who have
experienced some form of trauma, feel a sense of loyalty as
the control of the offender is all they know. This control has
convinced them that the offender has their best interest at
heart therefore making it easier for the offender to
manipulate their actions and emotions. [Sarah’s]
experience with trauma is no different, being exposed to
sexually     inappropriate      boundaries,     inappropriate
discipline, and grooming behaviors have somehow given
her a sense of trust and normalcy in the home of her
biological parents, thus creating negative attachments that
are not conducive to her over all well-being and safety.
[Sarah’s] psychiatrist has expressed concern due to
[Sarah’s] emotional immaturity that she is more
vulnerable and at risk for further mental health instability
if she is not provided the opportunity to properly receive
mental health treatment in a neutral setting. [Sarah]
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             continues to demonstrate a level of guilt around the bond
             with her parents.

             91. [Sarah’s] bond with her parents inhibits her ability to
             trust. Trust issues have carried through the past behavior
             issues and prior 18 placements over the last three years.

             92. [Sarah] desired to cut her hair and after months of
             refusal of her parents, she cut her hair herself. After
             receiving negative feedback from the parents regarding
             why she would cut her hair, [Sarah] reverted to stating
             that she changed her mind and no longer desired to cut her
             “locs” out because she did not want to upset her parents.
             She changed her decision after talking to her parents
             because she feared upsetting her parents, which shows
             guilt and loyalty.

             93. [Sarah’s] inability to work through her own trauma is
             a repetition of her guilt issues with her parents.

             94. [Sarah] demonstrates a hesitancy to discuss her
             trauma or any event that occurred in her biological family’s
             home prior to coming into care, stating “we don’t talk about
             family business.” Although the parent’s support of [Sarah]
             seems appropriate in their communication to her, as they
             often encourage her to do her best and that she can become
             anything she desires when she grows up, the result ends
             with the parents discussing points of the case in how
             [Sarah’s] current circumstance is not her fault but merely
             her response to all of the stress and trauma that the
             “system” and DSS has pressed upon her by placing her in
             foster care. This is a clear deflection of accountability of the
             parent’s actions and that of [Sarah] over her negative
             behaviors. Although [Sarah] may have a bond with her
             parents, this bond is not healthy and hinders [Sarah’s]
             ability to work through her trauma and grow into a healthy
             young adult.

To the extent respondents do not except to these findings, they are binding. In re B.E.,
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       375 N.C. at 745.

¶ 13         We begin by addressing respondent-father’s exception to the statement in

       finding of fact 82 that the letter accepted into evidence at the dispositional hearing

       was prepared by Sarah’s “psychiatrist”—which he contends “is simply not true.” We

       agree with respondent-father that the only letter admitted into evidence for

       disposition was from Morrow Dowdle, a physician’s assistant at Carolina Behavioral

       Health, who made clear in her letter that “my role in treating [Sarah] is limited to

       psychiatric medication management, and I do not claim to be a trained

       psychotherapist[.]” However, we conclude the trial court’s mischaracterization of the

       letter’s source is harmless. See generally In re N.C.E., 379 N.C. 283, 2021-NCSC-141,

       ¶22 (applying harmless error standard to dispositional findings). Ms. Dowdle’s letter

       states that Sarah had been her “patient” since 18 November 2019, and she was

       familiar with Sarah’s “history, physical, and mental status examination” in addition

       to her psychiatric diagnoses and medications. Ms. Dowdle’s observations and opinions

       about Sarah were based on “[her] own interactions with [Sarah,] and reports by her

       foster parent and social worker” and are consistent with those of Sarah’s psychiatrist

       and therapist, as described in DSS’s written report to the court, as well as those of

       Sarah’s guardian ad litem (GAL) and DSS social worker.

¶ 14         Respondent-mother challenges findings of fact 85–94, claiming they are based

       on “conjecture and erroneous, incomplete, misleading, and contradictory statements,
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       and thus are not competent evidence to support the trial court’s best interest

       determination.” She argues the trial court abused its discretion in terminating her

       parental rights “when there was no plan for Sarah’s adoption and serious obstacles

       existed to her successful placement.” Respondent-father also challenges portions of

       these findings. He further argues that the only dispositional factor in N.C.G.S. § 7B-

       1110(a) weighing in favor of termination was the parent-child bond, and that the trial

       court therefore abused its discretion in determining it was in Sarah’s best interests

       to terminate his rights. We consider each parent’s evidentiary arguments in the

       context of the relevant statutory factor.

       A. Age of the juvenile

¶ 15         Neither respondent challenges the trial court’s finding that Sarah was eleven

       years old at the time of the termination hearing, but they both contend that Sarah’s

       age should have weighed against terminating their parental rights. Respondent-

       mother argues Sarah’s age was a possible barrier to adoption. Respondent-father

       adds that, because Sarah was nearly twelve at the time of the termination hearing

       and had expressed a preference against adoption, “the trial court knew that Sarah’s

       age weighed against her likelihood of adoption.” In her reply brief, respondent-mother

       adopts respondent-father’s argument that the trial court’s failure to consider Sarah’s

       feelings on the matter of adoption amounts to an abuse of discretion. We disagree.

¶ 16         As a general matter, our adoption statutes require a child’s consent to an
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       adoption if she is at least twelve years of age. N.C.G.S. § 48-3-601(a)(1) (2019). Under

       N.C.G.S. § 48-3-603(b)(2) (2019), however, the trial court may waive this consent

       requirement “upon a finding that it is not in the best interest of the minor to require

       the consent.” In re C.B., 375 N.C. 556, 562 (2020) (quoting In re M.A., 374 N.C. 865,

       880 (2020)).

¶ 17         Here, the trial court sustained DSS’s objection on relevance grounds when

       counsel for respondent-mother asked the social worker whether DSS would consider

       Sarah’s feelings on adoption when she turned twelve. The court ruled the question

       irrelevant because “[w]hen [Sarah] turns twelve, this case will be over.” Presuming,

       arguendo, that the court should have permitted this line of inquiry, we conclude the

       ruling was harmless inasmuch as Sarah’s potential objection “would not preclude

       [her] adoption.” In re M.A., 374 N.C. at 880.

       B. Likelihood of adoption and whether termination will aid in the
          accomplishment of the permanent plan

¶ 18         Respondents raise several challenges to findings of fact 85–88 that combine

       arguments related to Sarah’s likelihood of adoption with those disputing the trial

       court’s finding that terminating their parental rights will aid in the accomplishment

       of her permanent plan. See N.C.G.S. § 7B-1110(a)(2), (3). We consider these

       arguments together.

¶ 19         Respondent-mother challenges finding of fact 85 on the ground that the

       evidence at the termination hearing “failed to show how the drastic step of severing
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       the parental bond actually aided in accomplishing [Sarah’s] adoption.” She asserts

       that terminating her parental rights will bring Sarah no closer to a “forever home”

       given the continued mental health supports Sarah would need. Respondent-mother

       contends adoption would complicate the stability Sarah has found in her current

       foster home, noting the lack of evidence on the effect that severing the bond with her

       current foster mother would have on Sarah. Respondent-mother also points to the

       absence of evidence of an identified adoptive placement for Sarah, DSS’s efforts to

       locate such a placement, and the possible barriers to adoption such as Sarah’s age

       and behavioral problems.

¶ 20         While respondent-father does not expressly challenge the evidentiary support

       for finding of fact 85, he contends the finding fails to take account of Sarah’s

       concurrent permanent plan of guardianship which, unlike adoption, would not

       require the termination of his parental rights. Respondent-mother also alludes to the

       trial court’s failure to consider guardianship as an alternative to termination.

¶ 21          “Unquestionably, the termination of respondent[s’] parental rights was a

       necessary precondition of [the child’s] adoption.” In re E.F., 375 N.C. 88, 93 (2020).

       Moreover, competent evidence supports the trial court’s finding that termination

       would aid in accomplishing the permanent plan. The record confirms that adoption

       was Sarah’s primary plan, and guardianship was the secondary plan. The GAL

       advised the court that Sarah’s permanent plan had been “changed to [a]doption” on
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       10 July 2019. DSS’s dispositional report also states that “[t]he permanent plan for

       the child currently is adoption with a secondary plan of guardianship[,]” and that

       “[t]ermination   of   parental   rights   will    aid    in   the   accomplishment   of

       adoption/guardianship for the child.” At the termination hearing, DSS social worker

       Tamika Jenkins testified that Sarah’s permanent plan was adoption and that

       terminating respondents’ parental rights would aid in realizing the plan.

¶ 22         Respondent-father offers no authority for his assertion that N.C.G.S. § 7B-

       1110(a)(3) requires the trial court’s order to address the secondary plan. Nor does he

       point to any conflicting evidence about whether terminating his parental rights would

       aid in achieving a guardianship for Sarah, such that written findings would have

       been required. See In re G.G.M., 2021-NCSC-25 at ¶22.

¶ 23         We further find no evidence tending to show that it was in Sarah’s best

       interests to appoint a guardian for her while leaving respondents’ parental rights

       intact. The trial court established a primary permanent plan of adoption based on

       respondents’ failure to acknowledge and remedy the issues that led to Sarah’s

       removal from their home. Respondent-father argued at the hearing that the alternate

       permanent plan of guardianship without a termination of parental rights would allow

       respondents to “continue to be a positive influence on [Sarah’s] life.” However, the

       evidence showed that, despite the love Sarah and respondents had for each other,

       respondents were not a positive influence in her life, and adoption rather than
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       guardianship was in her best interests. See In re J.J.B., 374 N.C. 787, 795–96 (2020)

       (rejecting respondent-parents’ argument that, “given the strong bond between

       themselves and [their children], the trial court should have considered other

       dispositional alternatives, such as guardianship”).

¶ 24         Respondent-mother next challenges the portion of finding of fact 86 stating

       “there has been no physical aggression against [Sarah’s] caregiver” during the ten

       months that preceded the 26 June 2020 termination hearing. We agree with

       respondent-mother that this finding is inconsistent with the evidence presented at

       the hearing and included in the record on appeal. The evidence showed Sarah had

       been in her current foster placement for ten months at the time of the hearing and

       had exhibited no physical aggression toward her foster mother since an incident on 4

       October 2019—a period of almost nine months.2 Accordingly, we disregard the extra

       month included in this finding for purposes of our review. See In re J.M.J.-J., 374

       N.C. 553, 559 (2020).

¶ 25         Respondent-mother also challenges the trial court’s finding of a “likelihood

       that [Sarah] could be adopted” in finding of fact 86. Respondent-father does not deny

       the evidentiary support for the finding, but he characterizes the court’s assessment

       of Sarah’s adoptability as “[nothing] more than a mere hypothetical possibility” given



             2 Likewise, the DSS disposition report dated 17 June 2020 states that “[i]n the last six

       months [Sarah] has maintained behavioral stability with the caregiver, as no new incidents
       have been reported of physical aggression against the caregiver.”
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       Sarah’s behavioral problems.

¶ 26         The finding that Sarah is likely to be adopted is supported by competent

       evidence. Ms. Jenkins attested to the likelihood of Sarah being adopted if she was

       provided continued stability and support, Ms. Jenkins acknowledged Sarah’s

       struggles with behavioral issues, including an aggressive incident with her current

       foster mother, but noted improvements—mostly at home but also in school—as her

       living situation and mental health providers stabilized in the months leading up to

       the termination hearing. Ms. Jenkins also described Sarah’s bond with her foster

       mother and how Sarah was opening up and seeking affection, something she had not

       done in her earlier placements. The written reports submitted by DSS and GAL also

       acknowledged Sarah’s misbehaviors but noted they had improved during Sarah’s

       placement with her current foster mother, with whom she had formed a positive and

       trusting attachment. See generally In re M.A., 374 N.C. at 880 (“[T]he trial court’s

       findings concerning the ability of the children to bond with their current caregivers

       did tend to support a conclusion that the children were adoptable given their ability

       to develop a bond with other human beings.”). The foster mother expressed a

       willingness to serve as a “bridge” caretaker for Sarah until a pre-adoptive placement

       was identified. Moreover, the hearing testimony tended to show Sarah would receive

       additional resources for finding an adoptive placement once she was free for adoption.

       Therefore, it was within the trial court’s discretion to view Sarah’s likelihood of
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       adoption as a fact favoring the termination of respondents’ parental rights. See In re

       N.C.E., 379 N.C. 283, 2021-NCSC-141 ¶30 (explaining that “it is left to the trial

       court’s discretion to weigh the various competing factors in N.C.G.S. § 7B-1110(a) in

       arriving at its determination of the child’s best interests”).

¶ 27         Respondent-mother characterizes finding of fact 87 as “incomplete and

       misleading” in depicting Sarah’s improved behavior in the months leading up to the

       termination hearing. She contends the finding “downplays the seriousness of Sarah’s

       behavioral problems and does not account for the effect of the [COVID-19] pandemic,

       which . . . limited her contact with others.” We find no merit to this claim. The trial

       court acknowledged Sarah’s ongoing “behavioral challenges” in finding of fact 86.

       Finding 87 in no way suggests an end to these issues and is fully supported by Ms.

       Jenkins’s testimony and the information found in the DSS and GAL’s reports.

       Respondent-mother’s conjecture about the effect of the pandemic on Sarah’s behavior

       provides no basis to overturn the court’s otherwise-supported finding.

¶ 28         Respondent-mother objects to finding of fact 87 because it states approvingly

       that Sarah “shows a desire to please her” foster mother, while subsequent findings

       describe Sarah’s ongoing desire to please respondents as indicative of unresolved

       “guilt issues with her parents.” What respondent-mother casts as an unexplained

       “contradiction” in the trial court’s findings, we find to be a clear distinction drawn by

       the court between Sarah’s newfound responsiveness to the care and nurturing she
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       has received from her foster mother and the lingering effects of the manipulative,

       controlling relationship respondents cultivated with their daughter. We thus find no

       merit to respondent-mother’s objections to finding of fact 87.

¶ 29         Respondent-mother next contends the account of Sarah’s relationship with her

       current foster mother in finding of fact 88 “is not supported by competent evidence”

       to the extent it states Sarah “has begun to open up regarding her anger and

       responsiveness to others when upset being what she has seen growing up.” (Emphasis

       added). We agree with respondent-mother that the italicized portion of this finding is

       unintelligible, likely resulting from a scrivener’s error. Therefore, we disregard this

       portion of finding of fact 88. However, the remainder of this finding is supported by

       Ms. Jenkins’s testimony and the written reports submitted by DSS and the GAL.

¶ 30         We find no merit to respondent-mother’s argument that the DSS report does

       not constitute competent evidence because it “does not identify the sources for this

       information or provide any details to determine its reliability within the meaning of

       N.C.G.S. § 7B-1110(a).” See In re R.D., 376 N.C. 244, 251 (2020) (concluding the GAL’s

       report summarizing multiple interviews was properly admitted for dispositional

       purposes under N.C.G.S. § 7B-1110(a) even though neither the GAL nor the

       interviewees testified at the hearing). Respondents allowed the dispositional reports

       into evidence without objection and were free to cross-examine Ms. Jenkins, who

       signed the report, about her observations and sources.
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¶ 31         In a footnote to his brief, respondent-father suggests that finding of fact 87

       “overstates the level of commitment” shown by Sarah’s foster mother to continue

       caring for Sarah until a pre-adoptive home is located. He takes issue with the trial

       court’s statement that the foster mother “has committed to helping Sarah transfer to

       her forever home,” when the DSS report says only that she “expressed a willingness

       to be a bridge caregiver for Sarah until a preadoptive placement can be identified.”

       We find respondent-father’s parsing of the trial court’s language wholly

       unpersuasive. To the extent he contests the evidentiary basis for finding 87, we

       conclude competent evidence supports the finding.

       C. The bond between the juvenile and the parents

¶ 32         Respondent-father claims “[t]here was no evidence that Sarah’s therapist

       believes Sarah’s relationship with her parents is ‘holding her back’ ” as stated in

       finding of fact 86. We agree with respondent-father that the trial court appears to

       have wrongly attributed this opinion to Sarah’s therapist. The evidence shows

       Sarah’s psychiatrist, the GAL, and Ms. Dowdle shared the belief that Sarah’s

       relationship with her parents was hindering her development. However, nothing in

       the record indicates that Sarah’s therapist also voiced this opinion. Nevertheless, we

       conclude the trial court’s misattribution was harmless, given that two of Sarah’s

       mental health treatment providers and her GAL did express this view.

¶ 33         We further find no merit to respondent-father’s suggestion that Ms. Dowdle’s
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       letter was the sole “evidentiary basis” for this portion of finding of fact 86. The

       opinions of Sarah’s GAL and psychiatrist were conveyed in the written reports

       submitted to the court. Equally unfounded is respondent-father’s speculation that the

       references to Sarah’s psychiatrist in the DSS report were actually “mistaken

       reference[s] to the physician’s assistant[,]” Ms. Dowdle. See generally State v.

       Daughtry, 340 N.C. 488, 517 (1995) (“We will not assume error ‘when none appears

       on the record.’ ” (quoting State v. Williams, 274 N.C. 328, 333 (1968))). The fact that

       DSS conveyed the opinion of Sarah’s psychiatrist in its written report—rather than

       obtaining a letter from the psychiatrist like the one provided by Ms. Dowdle—does

       not render the report unreliable for purposes of N.C.G.S. § 7B-1110(a). See In re R.D.,

       376 N.C. at 251 (recognizing “the trial court possessed the discretion to determine

       that the [GAL’s] report was, in fact, ‘relevant, reliable, and necessary’ to determine

       the best interests of [juvenile]” (quoting N.C.G.S. § 7B-1110(a))).

¶ 34         Both respondent-mother and respondent-father take exception to the trial

       court’s description of their bond with Sarah in findings of fact 89 and 90. They

       specifically challenge the evidentiary support for the trial court’s findings that “there

       ‘are concerns about the parents’ manipulation of [Sarah] in their feedback with

       her[,]’ ” that Sarah’s bond with respondents reflects “negative attachments that are

       not conducive to her overall well-being and safety[,]”and that Sarah’s “experience

       with trauma” is similar to other traumatized children and has left her with an
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       unhealthy sense of loyalty toward her “offender[s,]” i.e., respondents.

¶ 35         Respondent-mother also asserts the remaining statements about the parent-

       child bond in findings of fact 91 through 94 are unsupported by the evidence and

       based on psychological speculation. She argues “no trained psychologist or

       psychiatrist testified or submitted direct evidence in the case” and, therefore, there

       is no competent evidence to support the court’s findings that (1) the parent-child bond

       inhibits Sarah’s ability to trust; (2) Sarah changing her decision to cut her hair

       exhibited “guilt and loyalty” toward respondents; (3) Sarah’s “inability to work

       through her own trauma is a repetition of her guilt issues” with respondents; and (4)

       respondents’ “deflection of accountability” of their actions and Sarah’s behavior “is

       not healthy and hinders [Sarah’s] ability to work through her trauma and grow into

       a healthy young adult.”

¶ 36         Respondent-father objects to finding of fact 90 on the ground that it “includes

       expert opinion” which the DSS social worker was not qualified to offer. He raises a

       similar challenge to the statement in finding of fact 91 that Sarah’s “bond with her

       parents inhibits her ability to trust[,]” claiming the GAL who asserted as much in her

       written report was not qualified to render this opinion. More generally, respondent-

       father contends there was no evidence Sarah suffered from guilt arising from her

       bond with her parents as stated in findings of fact 90, 92, and 93.

¶ 37         Respondent-father also challenges the statement in finding of fact 94 that the
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       parent-child “bond is not healthy and hinders [Sarah’s] ability to work through her

       trauma and grow into a healthy young adult.” He reiterates the position he raised in

       disputing finding 86 that the only the evidence for this finding was the letter written

       by Ms. Dowdle, the contents of which he believes were mischaracterized in the DSS

       report as the opinions of a psychiatrist. To the extent the DSS report conveyed the

       opinions of an unidentified psychiatrist rather than Ms. Dowdle, respondent-father

       contends this evidence amounts to “unreliable double hearsay.”

¶ 38         Finally, respondents take issue with Ms. Jenkins’s and the trial court’s

       characterization of “[t]he hair-cutting incident” described in finding of fact 92. Ms.

       Jenkins cited this episode as an example of respondents’ unhealthy manipulation of

       Sarah and her resulting feelings of guilt. Respondents insist it merely showed that

       they opposed Sarah’s desire to change her hairstyle and expressed disapproval when

       she disregarded their wishes and cut her hair—what respondent-father deems “a

       mundane example of everyday parenting.” Respondents also reiterate the argument

       raised by respondent-mother in her challenge to finding of fact 87, that the trial court

       portrayed Sarah’s “desire to please her foster mother . . . [a]s positive” while treating

       her “desire to please her natural parents . . . as unhealthy[.]”

¶ 39         In their numerous challenges to the trial court’s findings about the parent-

       child bond under N.C.G.S. § 7B-1110(a)(4), respondents tacitly acknowledge the

       court’s findings are consistent with Ms. Jenkins’s hearing testimony, the contents of
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       the reports prepared by DSS and the GAL, and the statements in Ms. Dowdle’s letter.

       Despite respondents’ strenuous arguments to the contrary, we conclude the findings

       are supported by some relevant and reliable evidence and are thus binding on appeal.

       See In re B.E., 375 N.C. at 745.3

¶ 40          In her testimony for purposes of adjudication, Ms. Jenkins expressed concern

       about respondents’ “negatively communicating to [Sarah]” at visitations. While

       encouraging Sarah to do better in school and in managing her behavior, respondent-

       father emphasized to Sarah that her behaviors were not her fault, and that DSS or

       “the system” was the cause of the family’s problems. Respondent-father testified he

       always instructed Sarah not to trust strangers, including “anyone she has not been

       affiliated with or had been introduced solely from her parents to her”—although he

       denied telling Sarah not to trust DSS.

¶ 41          At disposition, Ms. Jenkins further attested to respondents instilling in Sarah

       an us-versus-them worldview, such that her cooperation with DSS or openness to

       others represented to Sarah a betrayal of her parents. Ms. Jenkins explained that

       Sarah’s feelings of loyalty to respondents impeded her ability to develop relationships

       with others, as follows:

                     [Sarah] has this mind set that, you know, “My family’s
                     business is my business. I can’t get close to anyone. I

              3 As noted in our discussion to follow, pursuant to N.C.G.S. §7B-1110(a), a trial court

       may “consider any evidence, including hearsay evidence . . . that the court finds to be relevant,
       reliable, and necessary to determine the best interests of the juvenile.”
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                    shouldn’t open up to let them get close to me.” Our concern
                    is her ability to be able to live a normal life open up and
                    trust others and embrace peers, embrace friends, embrace
                    those that are here, in addition to her parents and her
                    history with her parents . . . .

                    . . . I’ve seen this child begin to open up and, you know, seek
                    nurturing, seek affirmations from caregivers, open up to
                    even talk to me about some trainings that she has asked
                    me not to tell her parents. And for [Sarah] that’s big. She
                    doesn’t trust very easily. And so our concern is her being
                    able to build on that. The — I don’t want to say fear, but
                    the continued concern of hers about what her parents
                    think, and what are they going to say, I think hinders her
                    from growing, hinders her from being open to be receptive
                    to be loved. . . .

       In her letter, Ms. Dowdle likewise expressed a belief that Sarah “will not be able to

       appropriately verbalize and process her trauma as long as she continues to interact

       with [respondents] . . . as she is likely to experience feelings of guilt and loyalty that

       are typical for a child of her age and circumstances, but are likely to hinder her

       progress.”

¶ 42         The written reports submitted by DSS and the GAL include similar

       observations and opinions from Ms. Jenkins, the GAL, and Sarah’s psychiatrist. Ms.

       Jenkins, who signed the DSS report, wrote that Sarah’s exposure to traumatic

       experiences in the home, including “sexual inappropriate boundaries, inappropriate

       discipline, and grooming behaviors,” led her to form “negative attachments [to

       respondents] that are not conducive to her overall well-being and safety.” Her report

       describes Sarah as “continu[ing] to demonstrate a level of guilt around the bond with
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       her parents.” The GAL suggested that Sarah “may be resistant to the idea of adoption

       due to her sense of loyalty to her parents,” which “has hindered her willingness to

       open up and trust others,” as well as her “lack of understanding as to why she is in

       foster care[.]” Sarah’s psychiatrist expressed “concern regarding [Sarah’s] ability to

       fully process the idea of adoption and move forward with the chapter in her life, [due]

       to a fear of making a decision against her parents.” The psychiatrist “conclude[d] that

       although [Sarah] may have a bond with her parents, this bond is not healthy and

       hinders [her] ability to work through her trauma and grow into a healthy young

       adult.”

¶ 43         Findings of fact 89–94 are thus consistent with the evidence received by the

       trial court regarding Sarah’s bond with respondents and the negative impact of the

       relationship on Sarah’s emotional development and well-being. The evidence provides

       ample basis for the trial court’s findings that Sarah continued to experience guilt

       arising from a distorted sense of loyalty to respondents, who refused to acknowledge

       the injurious environment they created for Sarah while she was in their care. The

       evidence also demonstrates the distinction between Sarah’s unhealthy tendency to

       avoid upsetting respondents and her growing openness to and desire to please her

       foster mother, who “provides [Sarah] with a safe, nurturing, and structured loving

       and structured home environment.”

¶ 44         As respondents did not object to the trial court’s consideration of DSS’s and the
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       GAL’s written reports for purposes of disposition, their current arguments regarding

       the sourcing or overall reliability of these reports are not properly before us. See N.C.

       R. App. P. 10(a)(1). As previously noted, the dispositional statute expressly permits

       the trial court to “consider any evidence, including hearsay evidence . . . , that the

       court finds to be relevant, reliable, and necessary to determine the best interests of

       the juvenile.” N.C.G.S. § 7B-1110(a) (emphasis added). The trial court thus had the

       discretion to rely on the information contained in these reports—including the

       opinions of Sarah’s DSS social worker and GAL, as well as those offered by Sarah’s

       psychiatrist and therapist. See In re R.D., 376 N.C. at 251 (concluding the GAL’s

       report containing summaries of witness interviews, an analysis of the juvenile’s

       needs, and the GAL’s opinion that termination was in the juvenile’s best interests

       was “directly related to the trial court’s task during the dispositional stage” and was

       properly considered to “aid the trial court in determining the juvenile’s best

       interests”).

¶ 45          Ms. Jenkins’s testimony also supports the account of Sarah’s decision to cut

       her hair contained in finding of fact 92. Ms. Jenkins recalled Sarah expressing her

       intention to remove the locs from her hair “for weeks” to both Ms. Jenkins and her

       foster mother. Sarah was told respondents did not want her hair cut, but she

       proceeded to cut some of her locs out anyway, telling Ms. Jenkins that she did not

       want to have locs anymore. After a visit where respondents told Sarah that she would
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       be “bald-headed” if she cut her locs, she became “very upset” at respondents’ reaction,

       changed her mind, and said she would keep her locs. Ms. Jenkins saw this episode as

       an example of Sarah setting aside her own wishes in order to avoid upsetting

       respondents. Although respondents may disagree with Ms. Jenkins’s view of this

       episode, we decline to second-guess the trial court’s decision to credit the social

       worker’s perspective, given her familiarity with the family and their interpersonal

       dynamics. See generally In re T.N.H., 372 N.C. 403, 411 (2019) (“[I]t is the trial judge’s

       duty to consider all the evidence, pass upon the credibility of the witnesses, and

       determine the reasonable inferences to be drawn from the testimony.”).

¶ 46         Aside from the trial court’s mistaken attribution of an opinion to Sarah’s

       therapist in finding of fact 86, we conclude that competent evidence supports each of

       the findings about the parent-child bond challenged by respondents—specifically

       findings of fact 89–94. We further note that, in addition to the contested findings, the

       court made additional findings about the injurious environment respondents created

       in their home that led to Sarah’s adjudication as neglected, as well as respondents’

       persistent refusal to acknowledge a problem requiring any changes if Sarah were

       returned to their care. The court also made findings on the unreliability of

       respondent-father’s testimony and his lack of credibility at the hearing. Each of these

       findings tends to show the deleterious nature of respondents’ bond with Sarah.

       D. The quality of the relationship between the juvenile and the proposed
          adoptive parent, guardian, custodian, or other permanent plan
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¶ 47          Respondent-father emphasizes that the trial court’s findings about Sarah’s

       bond with her current foster mother do not speak to the dispositional factor in

       N.C.G.S. § 7B-1110(a)(5) because the placement was not expected to be permanent.

       However, as the court explained at the hearing, these findings were probative on the

       likelihood of Sarah’s eventual adoption and were properly considered under N.C.G.S.

       § 7B-1110(a)(2). See In re M.A., 374 N.C. at 880.

       E. Determination of Sarah’s best interests

¶ 48          Respondent-mother argues the trial court abused its discretion under N.C.G.S.

       § 7B-1110(a) in terminating her parental rights “when there was no plan for Sarah’s

       adoption and serious obstacles existed to her successful placement.” Respondent-

       father also objects to the trial court’s “decision that turns Sarah into a legal orphan[.]”

       Though he acknowledges it is not this Court’s prerogative to reweigh the factors,

       respondent-father spends considerable time arguing that the weight of the factors

       does not support termination.4


              4 We find no merit to respondent-father assertion that “the General Assembly made a

       fundamental change” to the dispositional statute in 2005, “the magnitude [of which] cannot
       be overstated.” According to respondent-father, “[b]efore the 2005 change, there existed in
       the Juvenile Code a preference in favor of terminating the parent-child relationship if the
       grounds to do so had been established[,]” and “[b]y explicitly removing that preference for
       termination, the General Assembly clearly indicated that it no longer believed such a
       preference was appropriate.”
              Prior to 2005, N.C.G.S. § 7B-1110 provided that, upon an adjudication of one or more
       grounds for terminating parental rights under N.C.G.S. § 7B-1111(a), “the court shall issue
       an order terminating the parental rights of such parent . . . unless the court shall further
       determine that the best interests of the juvenile require that the parental rights of the parent
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¶ 49          Respondents also cite the risk that Sarah will not be adopted as demonstrating

       the trial court’s abuse of its discretion. Respondent-father contends the court’s

       “decision . . . turns Sarah into a legal orphan” much like the termination order

       reversed by our Court of Appeals in In re J.A.O., 166 N.C. App. 222 (2004).

       Respondent-mother likewise emphasizes that “there was no plan for Sarah’s

       adoption” at the time the trial court chose to terminate her parental rights.

¶ 50          We find the instant case readily distinguishable from In re J.A.O. The Court of

       Appeals found that J.A.O. was “a troubled teenager with a woefully insufficient

       support system” who had been shuffled through multiple treatment centers due to

       his significant physical, mental, and behavioral disorders. Id. at 227. His mother was

       “connected to and interested in” him, and she provided a stabilizing influence in his

       life. Id. at 227–28. She had also “made reasonable progress to correct the conditions



       not be terminated.” In re Mitchell, 148 N.C. App. 483, 492 (Hunter, J., dissenting in part)
       (quoting N.C.G.S. § 7B-1110(a) (1999)), rev’d per curiam for reasons stated in dissenting
       opinion, 356 N.C. 288 (2002). The General Assembly amended this language in 2005 to
       provide simply that, “[a]fter an adjudication that one or more grounds for terminating a
       parent’s rights exist, the court shall determine whether terminating the parent’s rights is in
       the juvenile’s best interest.” An Act to Amend the Juvenile Code to Expedite the Outcomes
       for Children and Families Involved in Welfare Cases and Appeals and to Limit the
       Appointment of Guardians ad Litem for Parents in Abuse, Neglect, and Dependency
       Proceedings, S.L. 2005-398, § 17, 2005 N.C. Sess. Laws 1455, 1463.
              Contrary to respondent-father’s contention, the pre-2005 language did not create a
       statutory “preference for termination.” See Mitchell, 148 N.C. App. 483, 492–93 (Hunter, J.,
       dissenting in part) (noting “there is no burden of proof at disposition” and rejecting the
       respondent’s argument that the trial court improperly required him to prove that terminating
       his parental rights was not in the child’s best interest (citation omitted)); see also In re
       Blackburn, 142 N.C. App. 607, 613 (2001) (concluding the statute created no presumption in
       favor of terminating parental rights).
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       that led to the petition to terminate her parental rights.” Id. at 224. Under these

       circumstances and given the “remote chance” of sixteen-year-old J.A.O.’s adoption,

       the trial court was held to have abused its discretion by disregarding the

       recommendation of the GAL and terminating the mother’s parental rights. Id.

¶ 51         Here, while Sarah had been in multiple placements due to her behavior, she

       had shown real improvement after finding stability in her current foster home, a

       factor that increased the likelihood of her adoption. Moreover, as discussed above, the

       evidence showed respondents refused to acknowledge that the reasons for Sarah’s

       removal from their home were problems to be corrected, and made no progress

       towards correcting those conditions. Finally, rather than providing a stabilizing

       influence, Sarah’s relationship with respondent-parents negatively affected her

       development.

¶ 52         To the extent respondents ask this Court to undertake our own assessment of

       the record evidence and to substitute our weighing of the relevant statutory criteria

       for that of the trial court, we decline to do so. “[S]uch an approach would be

       inconsistent with the applicable standard of review, which focuses upon whether the

       trial court’s dispositional decision constitutes an abuse of discretion rather than upon

       the manner in which the reviewing court would weigh the evidence were it the finder

       of fact.” In re I.N.C., 374 N.C. 542, 551 (2020). A careful review of the dispositional

       findings shows the trial court considered all of the relevant statutory criteria in
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       N.C.G.S. § 7B-1110(a) and made a reasoned determination that termination of

       respondents’ parental rights in Sarah would be in her best interests.

                                       III.    Conclusion

¶ 53         The trial court’s findings demonstrate that it considered the dispositional

       factors set forth in N.C.G.S. § 7B-1110(a) and “performed a reasoned analysis

       weighing those factors.” In re Z.A.M., 374 N.C. at 101. “Because the trial court made

       sufficient dispositional findings and performed the proper analysis of the

       dispositional factors,” id., we conclude that the trial court did not abuse its discretion

       in concluding that termination of respondents’ parental rights was in Sarah’s best

       interests. Accordingly, we affirm the trial court’s order.

             AFFIRMED.
